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                       EXHIBIT A

              Declaration of Cody Kaldenberg
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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                     )
    In re:                                                           )     Chapter 11
                                                                     )
    YELLOW CORPORATION, et al., 1                                    )     Case No. 23-11069 (CTG)
                                                                     )
                             Debtors.                                )     (Jointly Administered)
                                                                     )

                             DECLARATION OF
                       CODY KALDENBERG IN SUPPORT
              OF THE DEBTORS’ APPLICATION FOR ENTRY OF AN
         ORDER (I) AUTHORIZING THE RETENTION AND EMPLOYMENT OF
       DUCERA PARTNERS LLC AS INVESTMENT BANKER TO THE DEBTORS
      EFFECTIVE AS OF PETITION DATE, AND (II) GRANTING RELATED RELIEF

             Pursuant to 28 U.S.C. § 1746, I, Cody Kaldenberg, declare:

             1.     I am a partner at Ducera Partners LLC (along with its affiliates,

collectively, “Ducera”) located at 11 Times Square, 36th Floor, New York, New York 10036, and

am duly authorized to submit this declaration (this “Declaration”) on behalf of Ducera.

             2.     This Declaration is being submitted in connection with the proposed employment

and retention of Ducera as investment banker to the Debtors to perform services as set forth in the

Application for Entry of an Order (I) Authorizing the Retention and Employment of Ducera

Partners LLC as Investment Banker to the Debtors Effective as of the Petition Date and

(II) Granting Related Relief (the “Application”). 2 I submit this Declaration in compliance with

sections 327, 328 and 1107(a) of the Bankruptcy Code and to provide the disclosure required under

Bankruptcy Rules 2014(a), 2016, and 5002 and Local Rule 2014-1.



1
      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of the Debtors’ principal
      place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400,
      Overland Park, Kansas 66211.
2
      Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Application.
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       3.      I am not being compensated separately for this Declaration or testimony. Except

as otherwise set forth in this Declaration, I have personal knowledge of the facts set forth herein

and, if called as a witness, I could and would testify thereto. Certain of the disclosures set forth

herein are related to matters within the knowledge of other employees of Ducera and are based on

information provided by them.

                                     Ducera’s Qualifications

       4.      Ducera is an independent investment bank with expertise in a range of corporate

financing advisory services, including restructuring services. Ducera professionals, with roots in

complex corporate finance, offer impartial and independent strategic advice to stakeholders in a

broad range of industries and situations, have extensive experience with investing and analyzing

claims of debtors and their estates, and specialize in, among other things, providing clients with

leading-edge capital structure and restructuring advice and services in workout and bankruptcy

situations. Ducera’s services include advising on maximizing value of the estate through the

chapter 11 process, assisting in developing, negotiating, and validating capital structure

alternatives, conducting diligence on underlying business plans and liquidity projections,

evaluating contracts and operating agreements to assess business risk from vendors, and evaluating

potential contract rejections. As an internationally recognized advisory firm, Ducera has an

excellent reputation for advising both debtors and creditors in large and complex chapter 11 cases.

       5.      Founded in 2015, Ducera’s business reorganization professionals have served as an

investment banker to debtors, creditor groups, asset purchasers, committees, boards of directors,

and trustees in a number of recent in-court restructurings, including: (a) In re Diebold Holding

Co., LLC, No. 23-90602 (DRJ) (Bankr. S.D. Tex. July 18, 2023) [Docket No. 266]; (b) In re Virgin

Orbit Holdings, No. 23-10405 (KBO) (Bankr. D. Del. May 15, 2023) [Docket No. 261];

(c) In re Core Scientific, Inc., No. 22-90341 (DRJ) (Bankr. S.D. Tex. March 13, 2023)


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[Docket No. 675]; (d) In re Endo Int’l plc., No. 22-22549 (JLG) (Bankr. S.D.N.Y. Oct. 25, 2022)

[Docket No. 527]; (e) In re GBG USA Inc., No. 21-11369 (MEW) (Bankr. S.D.N.Y.

Sept. 22, 2021) [Docket No. 230]; (f) In re Mallinckrodt plc, No. 20-12522 (JTD) (Bankr. D. Del.

Mar. 16, 2021) [Docket No. 1741]; (g) In re Superior Energy Servs., Inc., No. 20-35812 (DRJ)

(Bankr. S.D. Tex. Feb. 2, 2021) [Docket No. 316]. Ducera has experience in a variety of industries,

providing specialized advice on matters including, but not limited to, restructurings, mergers,

acquisitions, financings, capital structure advisory, and chapter 11 sales.

         6.     The resources, capabilities, and experience of Ducera in advising the Debtors are

crucial to the Debtors’ chapter 11 strategy. An experienced investment banker, such as Ducera,

fulfills a critical need that complements the services offered by the Debtors’ other restructuring

professionals. The Debtors require the services of a capable and experienced investment banker

such as Ducera.

                                     Services to Be Provided

         7.     Ducera has specialized expertise in pre-packaged, pre-arranged and traditional

Chapter 11 restructuring transactions. The Debtors’ proposed retention of Ducera will enable the

Debtors to receive vital, coordinated services from an investment banking firm that is a leader in

its field.

         8.     The Engagement Letter governs the relationship between Ducera and the Debtors.

The terms and conditions of the Engagement Letter were the product of a competitive process in

which Ducera participated, intensely negotiated, and reflect the parties’ mutual agreement as to

the substantial efforts and resources that will be required in this engagement.         Under the

Engagement Letter, Ducera will perform such financial and investment banking services as the




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investment banker, and the Debtors or their Counsel deem appropriate and feasible during these

Chapter 11 Cases, including: 3

        (a)      General Financial Advisory and Investment Banking Services, which may
                 include: (1) becoming familiar with the business, operations, financial
                 condition, financial statements, business plans, forecasts, and capital
                 structure of the Debtors; (2) assisting with the evaluation of the Debtors’
                 debt capacity and alternative capital structures in light of its projected
                 financial performance; and (3) providing such other advisory services as are
                 customarily provided in connection with the analysis and negotiation of any
                 of the transactions contemplated by this Agreement.

        (b)      Financing Services, which may include: (1) providing financial advice to
                 the Debtors in connection with the structure and effectuation of a Financing,
                 identifying potential Investors and, at the Debtors’ request, contacting and
                 soliciting such Investors; and (2) assisting with the arrangement of a
                 Financing, including identifying potential sources of capital, assisting in the
                 due diligence process, and negotiating the terms of any proposed Financing;
                 provided, however, it is understood that nothing contained in the
                 Engagement Letter shall constitute an express or implied commitment by
                 Ducera to act in any capacity or to underwrite, place or purchase any
                 financing or securities, which commitment shall only be set forth in a
                 separate underwriting, placement agency or other appropriate agreement
                 relating to the Financing.

        (c)      Sale Services, which may include: (1) providing financial advice to the
                 Debtors in structuring, evaluating and effectuating a Sale, identifying
                 potential counterparties and, at the Debtors’ written (email to be sufficient)
                 request, contacting and soliciting potential acquirers; and, assisting with the
                 arrangement and execution of a Sale, including identifying potential buyers
                 or parties in interest, assisting in the due diligence process, and negotiating
                 the terms of any proposed Sale.

        (d)      Restructuring Services, which may include: (1) analyzing various
                 Restructuring scenarios and the potential impact of these scenarios on the
                 value of the Debtors and the recoveries of those stakeholders impacted by
                 the Restructuring; (2) providing strategic advice with regard to restructuring
                 or refinancing the Debtors’ Existing Obligations; (3) providing financial
                 advice and assistance to the Debtors in developing a Restructuring; (4) in

3
    Summaries and other descriptions of the terms of the Engagement Letter set forth herein are not intended to
    replace the terms of the Engagement Letter, which shall govern in their entirety to the extent of any inconsistency
    between this Declaration, the Application, and the Engagement Letter. The Order is intended to modify or qualify
    the Engagement Letter in certain respects (as is necessary in connection with Ducera’s retention in these Chapter
    11 Cases) and shall control in the event of any inconsistencies between this Declaration, the Application, the
    Engagement Letter, and the Order.



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               connection therewith, providing financial advice and assistance to the
               Debtors in structuring any new securities to be issued under a Restructuring;
               and (5) assisting the Debtors and/or participate in negotiations with entities
               or groups affected by the Restructuring.

                                   No Duplication of Services

       9.      Ducera understands that the Debtors have retained and may retain additional

professionals during the term of the engagement and agrees to work cooperatively with such

professionals to integrate any respective work conducted by the professionals on behalf of the

Debtors. The resources, capabilities, and experience of the Investment Bankers in advising the

Debtors are crucial to the success of the Debtors’ chapter 11 strategies.           Ducera will be

appropriately directed by Counsel at the request of the Debtors to avoid unnecessary duplication

of services provided by the other, or any of the Debtors’ other retained professionals, in these

Chapter 11 Cases. Ducera is accustomed to working collaboratively and the ability of each firm

to provide effective advice to the Debtors is enhanced by the presence of the other.

                                          Compensation

       10.     In consideration of the services to be provided by Ducera, and as more fully

described in the Engagement Letter, subject to the Court’s approval, the Debtors have agreed to

pay Ducera the proposed compensation set forth in the Engagement Letter (the “Fee and Expense

Structure”), which may be summarized as follows:

       (a)     Retainer and Monthly Advisory Fee: for services rendered in accordance
               with subparagraph 8(a) of this Declaration:

                      (1)     a one-time nonrefundable fee of $500,000, which shall be earned,
                              due, and payable upon execution of the Engagement Letter and shall
                              be credited against the Financing Fee as set forth therein (the
                              “Retainer Fee”); plus,

                      (2)     commencing as of June 1, 2023, the Debtors shall pay Ducera a non-
                              refundable monthly cash fee of $200,000, due and payable on the
                              first day of each and every month during the Term (as defined in the
                              Engagement Letter) (the “Monthly Advisory Fee”).


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          (b)      Financing Fee: for services rendered in accordance with subparagraph 8(b)
                   of this Declaration, a financing fee, which shall be earned, due, and payable
                   upon (and subject to the occurrence of) the closing of a Financing
                   (the “Financing Fee”). The Financing Fee shall be:

                            (1)      1.0% of the face amount of senior secured debt (including, but not
                                     limited to, revolving credit and asset backed lending facilities)
                                     Raised;

                            (2)      3.0% of the face amount of any unsecured and junior secured debt
                                     Raised; and

                            (3)      5.0% of any equity capital, convertible, or hybrid capital, including
                                     warrants, or similar contingent equity securities Raised.

          (c)      Transaction Fee: for services rendered in accordance with subparagraph
                   8(c) and subparagraph 8(d) of this Declaration, a transaction fee, which shall
                   be due and payable upon consummation of a Sale or a Restructuring
                   (the “Transaction Fee”). The Transaction Fee shall be calculated as the
                   greater of: 4

                            (1)      In the event of a Restructuring, a fee of $15,000,000 due and payable
                                     upon consummation of a Restructuring; and

                            (2)      In the event of a Sale, including through a 363 Sale, a fee equal to
                                     the Transaction Value multiplied by the Applicable Fee percentage
                                     reflected in the chart below:

                                                                                    Applicable Fee % for
                    Transaction Value Component                                      Transaction Value
                                                                                        Component
    Transaction Value of less than $200 million                                           2.000%
    Transaction Value between $200 million and $300 million                                  1.650%
    Transaction Value between $300 million and $400 million                                  1.500%
    Transaction Value between $400 million and $500 million                                  1.400%
    Transaction Value between $500 million and $600 million                                  1.300%
    Transaction Value between $600 million and $700 million                                  1.200%
    Transaction Value between $700 million and $800 million                                  1.150%
    Transaction Value between $800 million and $900 million                                  1.100%
    Transaction Value between $900 million and $1.0 billion                                  1.050%

4
      For the avoidance of doubt, in the context of a 363 Sale, Ducera will not separately earn a Restructuring Fee on
      any plan of reorganization under the Bankruptcy Code that simply distributes proceeds from such 363 Sale.



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                                                                       Applicable Fee % for
               Transaction Value Component                              Transaction Value
                                                                           Component
 Transaction Value between $1.0 billion and $1.25 billion                    1.000%
 Transaction Value between $1.25 billion and $1.5 billion                      0.925%
 Transaction Value between $1.5 billion and $1.75 billion                      0.850%
 Transaction Value between $1.75 billion and $2.0 billion                      0.775%
 Transaction Value in excess of $2.0 billion                                   0.700%

       (d)     Discount: the Debtors shall receive a discount of $100,000, per month
               against the greater of the Transaction Fee and the Financing Fee for each
               month commencing after payment of the sixth (6th) Monthly Advisory Fee
               (the “Ducera Discount”); provided, however, that: (a) the Ducera Discount
               shall only apply if any and all outstanding invoices for Monthly Advisory
               Fees have been paid before, or in connection with, the consummation of a
               Transaction, Sale or Financing; (b) that no Monthly Advisory Fee shall be
               credited more than once; and (c) in no event shall the aggregate fees be
               reduced below zero.

       (e)     Expenses and Payments: in addition to the fees set forth above, the Debtors
               agree upon request to promptly reimburse Ducera for its reasonable and
               documented out-of-pocket expenses, including, but not limited to, travel
               and transportation expenses, third party research and telecommunication
               expenses, printing costs, courier and other shipping and mailing costs and,
               in the case of advisors, limited to the reasonable expenses of Ducera’s one
               external legal counsel, any other professional advisors approved by the
               Debtors, and other reasonable and documented out of pocket expenses
               incurred in connection with Ducera’s engagement or the performance of
               services hereunder or any other assignments undertaken by Ducera at the
               Debtors’ request; provided, however, that this subparagraph 10(e) shall in
               no way affect the Debtors’ obligations as set forth in Annex A to the
               Engagement Letter. All payments due under this Application shall be made
               in U.S. dollars in immediately available funds, free and clear of any set off,
               claim, and applicable taxes (with appropriate gross up for any taxes
               withheld).

       11.     Ducera believes that the Fee and Expense Structure is comparable to those

generally charged by investment bankers of similar stature to Ducera for comparable engagements,

both in and out of bankruptcy proceedings, and reflects a balance between fixed fees and a




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contingency amount which is tied to the consummation and closing of the transactions

contemplated by the Debtors and Ducera in the Engagement Letter.

        12.       The Fee and Expense Structure summarized above and described more fully in the

Engagement Letter is consistent with Ducera’s normal and customary billing practices for

comparably sized and complex cases and transactions, both in- and out-of-court, involving the

services to be provided in connection with the Chapter 11 Cases. Moreover, the Fee and Expense

Structure is consistent with and typical of, arrangements entered into by Ducera and other

investment bankers in connection with the rendering of comparable services to clients such as the

Debtors. Ducera believes that the Fee and Expense Structure is both reasonable and market-based.

        13.       To induce Ducera to represent the Debtors, the Fee and Expense Structure was

established to reflect the difficulty of the extensive assignments Ducera has undertaken and expects

to undertake and to account for the potential for an unfavorable outcome resulting from factors

outside of Ducera’s control.

        14.       The Debtors and Ducera negotiated the Fee and Expense Structure to function as

an interrelated, integrated unit, in correspondence with Ducera’s services, which Ducera renders

not in parts, but as a whole. It would be contrary to the intention of Ducera and the Debtors for

any isolated component of the Fee and Expense Structure to be treated as sufficient consideration

for any isolated portion of Ducera’s services. Instead, the Debtors and Ducera intend that Ducera’s

services be considered as a whole that is to be compensated by the Fee and Expense Structure in

its entirety.

        15.       Other than as set forth in this Application or in the Engagement Letter, there is no

proposed arrangement between the Debtors and Ducera for compensation to be paid in the Chapter




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11 Cases. Ducera has not shared or agreed to share any of its compensation from the Debtors with

any other person, other than as permitted by section 504 of the Bankruptcy Code.

                     Record Keeping and Applications for Compensation

       16.     Ducera will maintain records in support of any actual, necessary costs and expenses

incurred in connection with the rendering of its services in the Chapter 11 Cases. However,

because: (a) it is not the general practice of investment banking firms such as Ducera to keep

detailed time records similar to those customarily kept by attorneys; (b) Ducera does not ordinarily

keep time records on a “project category” basis; and (c) Ducera’s compensation is based primarily

on a fixed Monthly Advisory Fee, the Transaction Fee, and the Financing Fee, if any, the Debtors

have requested that Ducera’s professionals only be required to maintain records (in summary

format) of the services rendered for the Debtors, including summary descriptions of those services,

the approximate time expended in providing those services in half-hour (0.5) increments, and the

identity of the professionals who provided those services. Ducera will present such records to the

Court in its fee application(s). To the extent that Ducera would otherwise be required to submit

more detailed time records for its professionals by the Bankruptcy Code, Bankruptcy Rules, Local

Rules, or applicable guidelines, procedures, or orders of the Court, Ducera respectfully requests

that this Court waive such requirements.

                                   Indemnification Provisions

       17.     As part of the overall compensation payable to Ducera under the terms of the

Engagement Letter, the Debtors have agreed to certain indemnification and contribution provisions

described in Annex A to the Engagement Letter (the “Indemnification Provisions”). As more fully

set forth in the Engagement Letter, the Indemnification Provisions provide the Debtors will

indemnify and hold harmless Ducera and its affiliates and their respective directors, officers,

employees, attorneys and other agents appointed by any of the foregoing and each other person, if


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any, controlling Ducera or any of its affiliates (collectively, including Ducera, “Indemnified

Persons”) from and against, and the Debtors agree that no Indemnified Person shall have any

liability (whether direct or indirect, in contract or tort or otherwise) to the Debtors or their owners,

parents, affiliates, security, holders or creditors (in their respective capacities as such) for, any

losses, claims, expenses (including reasonable attorneys’ fees), damages or liabilities (including

actions or proceedings in respect thereof) (collectively, “Losses”) (1) related to or arising out of

(a) the Debtors’ actions or failures to act (including statements or omissions made or information

provided by the Debtors or their agents) in connection with the engagement; or (b) actions or

failures to act by an Indemnified Person in connection with this engagement with the Debtors’

counsel’s, or their representatives or agents’ consent, or otherwise in reasonable reliance on the

Debtors’ direction, actions, or failures to act in each case in connection with the engagement; or

(2) otherwise related to or arising out of the engagement, Ducera’s performance thereof or any

other services Ducera is asked to provide to the Debtors pursuant to the Engagement Letter;

provided, that this subsection (2) shall not apply to any Losses (nor shall the limitation of liability

above apply) due to a material breach of the Engagement Letter or to the extent that they are finally

determined by a court of competent jurisdiction to have resulted from the bad faith, willful

misconduct, or gross negligence of an Indemnified Person.

        18.     The terms of the Engagement Letter, including the Indemnification Provisions,

were fully negotiated between the Debtors and Ducera at arm’s length. I believe that the

Indemnification Provisions, as modified by the Order, are customary, reasonable and in the best

interests of the Debtors, their estates, and creditors.

                                    Ducera’s Disinterestedness

        19.     In connection with Ducera’s proposed retention by the Debtors, Ducera undertook

to determine whether it had any conflicts or other relationships that might cause it not to be


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disinterested, or to hold or represent an interest adverse to the Debtors’ estates. 5 The Debtors

provided Ducera, and its subsidiaries and affiliates, with a list of potentially interested parties in

the Chapter 11 Cases (collectively, the “Potential Parties in Interest”), 6 a copy of which is attached

hereto as Schedule 1. 7

        20.      Ducera has provided prepetition investment banking services to the Debtors.

During the 90-day period prior to the commencement of the Chapter 11 Cases, Ducera has received

$622,888.71 from the Debtors for services performed and expenses incurred prior to the Petition

Date. Specifically, according to the Debtors’ books and records, the Debtors paid Ducera:

(a)the Monthly Advisory Fees in the amount of $600,000.00 and (b) reimbursement of expenses

in the amount of $22,888.71.

        21.      Ducera together with its affiliates, 8 utilizes certain procedures (the “Ducera Firm

Procedures”) to determine if Ducera (or any affiliate thereof) has any conflicts or other



5
    For the avoidance of doubt, the disinterestedness representation made in the “Ducera’s Disinterestedness” section
    of this Declaration includes the affiliates of Ducera Partners LLC, including, without limitation, Ducera LLC (the
    parent company of Ducera Partners LLC) and Ducera Securities LLC (a registered broker-dealer and also a
    subsidiary of subsidiary of Ducera LLC).
6
    As may be necessary, Ducera will supplement this Declaration if it becomes aware of a relationship that may
    adversely affect Ducera’s retention or would otherwise require disclosure (any such declaration, a “Supplemental
    Declaration”).
7
    Ducera’s inclusion of parties in Schedule 1 is solely to disclose Ducera’s conflict search process and is not an
    admission that any party has a valid claim against the Debtors or that any party properly belongs on Schedule 1
    or has a claim or legal relationship to the Debtors of the nature described in Schedule 1.
8
    Neither Ducera, nor any parent or subsidiary thereof, is a registered investment advisor (as defined by the
    Investment Advisors Act of 1940), an investment company (as defined by the Investment Company Act), a
    commodity pool operator (as defined by the Dodd-Frank Act), a commodity trading advisor (as defined by the
    Commodity Exchange Act of 1936), provides securities clearing, lending, research, or underwriting services,
    maintains customer or employee securities trading accounts, trades individual public securities, manages money
    for employees or outside investors, or maintains any non-discretionary trading accounts—i.e., an account in which
    Ducera has trading or direction authority to pursue any individual (as opposed to money-market or other cash
    management) securities transactions. Ducera Securities LLC (a subsidiary of Ducera LLC and affiliate of Ducera
    Partners LLC) is a FINRA-registered broker-dealer (CRD#: 269984) and is authorized “to provide merger and
    acquisition advisory services, including certain sell-side transactions, certain buy-side transactions, and certain
    financial restructuring transactions.” As with most diversified investment banking firms, in addition to its core
    advisory business, Ducera (either for its own account or for the account of its senior employees) has made passive


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relationships that may have an interest in the Chapter 11 Cases. In implementing the Ducera Firm

Procedures, the following actions were undertaken to identify parties that may have connections

to the Debtors and to determine Ducera’s relationship with such parties:

        (a)       Ducera requested and obtained from the Debtors extensive lists of the
                  Potential Parties in Interest. The lists of Potential Parties in Interest that
                  Ducera reviewed are annexed hereto as Schedule 1.

        (b)       Ducera then compared the names of each of the Potential Parties in Interest
                  to the names in the master electronic database of Ducera’s current and
                  former clients (the “Client Database”). 9 The Client Database generally
                  includes the name of each client of Ducera, the name of each party that is
                  or was known to be adverse to such client of Ducera in connection with the
                  matter in which Ducera is representing such client, the name of each party
                  that has, or has had, a substantial role with regard to the subject matter of
                  Ducera’s retention, and the names of the Ducera professionals who are or
                  were primarily responsible for matters for such clients.

        (c)       An email was issued to all partners and managing directors at Ducera
                  requesting disclosure of information regarding: (i) any known personal
                  connections between the respondent or Ducera on the one hand, and either
                  the Potential Parties in Interest or the Debtors, on the other hand; (ii) any
                  known connection or representation by the respondent or Ducera of any of
                  the Potential Parties in Interest in matters relating to the Debtors; and
                  (iii) any other conflict or reason why Ducera may be unable to represent the
                  Debtors.

        22.       As a result of the Ducera Firm Procedures, I have thus ascertained that, except as

may be set forth herein, upon information and belief, if retained, Ducera, along with its employees

and any professionals retained by Ducera:

        (a)       is not a creditor of the Debtors or an equity security holder of the Debtors;

        (b)       is not and has not been, within two (2) years before the date of filing of the
                  petition a director, officer, or employee of the Debtors;

        (c)       does not have any interest materially adverse to that of the Debtors’ estates,
                  or of any class of creditors or equity security holders, by reason of any direct

    investments in illiquid securities of privately held early-stage entities. Ducera does not exercise control over these
    entities and the entities would not be deemed affiliates of Ducera.
9
    For avoidance of doubt, the Client Database identifies existing and former clients of all Ducera subsidiaries and
    affiliated entities, including, without limitation, Ducera LLC and Ducera Securities LLC.



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               or indirect relationship to, connection with, or interest in, the Debtors or for
               any other reason; and

       (d)     is not an insider of the Debtors as the term is defined in section 101(14) of
               the Bankruptcy Code.

       23.     To the best of Ducera’s knowledge, information, and belief, neither Ducera nor any

employees hold Yellow Corporation securities in any non-discretionary accounts (an account in

which Ducera or the employee has trading or discretionary authority to pursue any individual

securities transaction) as of the date hereof nor made any purchases or sales in Yellow Corporation

securities in the prior twelve (12) months; provided, however, for avoidance of doubt, Ducera and

its professionals may from time to time acquire, hold, or make direct or indirect investments in

managed, mutual, index, or other funds or maintain discretionary accounts (an account in which

neither Ducera nor the employee has trading or direction authority to pursue any individual

securities transaction) that may hold Yellow Corporation securities. An email was sent to all

employees of Ducera seeking to identify any employee that presently holds Yellow Corporation

securities in a non-discretionary trading account. No such holdings were identified.

       24.     As can be expected with respect to any professional services firm, Ducera provides

services to clients with interests in the Debtors’ Chapter 11 Cases. To the best of my knowledge,

except as indicated below, Ducera’s services for such clients do not relate to the Chapter 11 Cases.

       25.     To the best of my knowledge, neither Ducera nor I, nor any other employee of

Ducera that will work on the Debtors’ engagement, has any connection with, holds, or represents

any interest adverse to the Debtors, their estates, or the Potential Parties in Interest, except (a) as

set forth in Schedule 2 and (b) as otherwise set forth below:

               Prior to the commencement of the Chapter 11 Cases, Ducera performed
               professional services for the Debtors. Although Ducera’s records indicate
               that it is not owed any amounts in respect of prepetition services provided
               to the Debtors, it is possible that certain reimbursable expenses were
               incurred but were not reflected on Ducera’s books and records as of the


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               Petition Date. Upon entry of an order approving the Application, Ducera
               will waive any claim for such unreimbursed expenses in excess of amounts
               paid prepetition.

               Certain professionals presently employed by Ducera, may have been
               formerly employed by other financial services or other professional services
               firms that may be among, or may represent other parties that are among, the
               creditors, equity holders, or other parties-in-interest in the Chapter 11
               Cases. While employed by other firms, certain professionals presently
               employed by Ducera may have represented creditors, equity holders or
               other parties-in-interest in the Chapter 11 Cases in connection with matters
               unrelated to the Debtors and the Chapter 11 Cases. Ducera does not believe
               that any of these activities constitute interests adverse to the Debtors’
               estates.

       26.     Ducera provides services in many areas, including restructuring and distressed debt.

As part of its diverse practice, Ducera appears in numerous cases, proceedings, and transactions

involving many different attorneys, accountants, investment bankers, and financial consultants,

including governmental agencies, some of whom may represent claimants and parties in interest

in the Chapter 11 Cases. Furthermore, Ducera has in the past, and may in the future, be represented

by various attorneys and law firms, some of whom may be involved in the Chapter 11 Cases. In

addition, Ducera has been in the past, and likely will be in the future, engaged in matters unrelated

to the Debtors or the Chapter 11 Cases in which it works with, or in opposition to, other

professionals involved in the Chapter 11 Cases.

       27.     Ducera, on occasion, is hired directly by attorneys and law firms to provide services

for the benefit of one or more parties, some of whom may not be known to Ducera and/or may be

parties in interest in these proceedings. Persons that may become parties in interest in the Chapter

11 Cases, and persons that have business relationships with parties in interest in the Chapter 11

Cases, are competitors of parties in interest or that are customers of parties in interest, may be or

may have been: (a) parties in interest in other bankruptcy cases where Ducera has acted or is

currently acting as financial advisor or investment banker to the Debtors or to other parties in



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interest; (b) affiliates of or creditors of persons by whom Ducera may have been engaged, is

currently engaged, or may in the future be engaged; or (c) affiliates of or entities involved in

matters wholly-unrelated to the Chapter 11 Cases, where Ducera has acted or is currently acting

as financial advisor or investment banker for creditors and/or steering committees.

       28.     Given the number of Potential Parties in Interest in the Chapter 11 Cases, and

despite the efforts to identify and disclose Ducera’s relationships with Potential Parties in Interest

in the Chapter 11 Cases, Ducera is unable to state with certainty that every client relationship or

other connection has been disclosed in this Declaration. Ducera will make continued inquiries

following the filing of the Application, on a periodic basis, with additional disclosures to this Court

if necessary or otherwise appropriate.

       29.     I am not related or connected to and, based on the connections check performed in

accordance with the Ducera Firm Procedures, no other professional of Ducera who will work on

this engagement is related or connected to, any United States Bankruptcy Judge for the District of

Delaware, any of the District Judges for the District of Delaware who handle bankruptcy cases, or

any employee in the Office of the United States Trustee for the District of Delaware.

       30.     It is Ducera’s policy and intent to update and expand its ongoing relationship search

for additional parties in interest in an expedient manner. If any new material relevant facts or

relationships are discovered or arise, Ducera will promptly file a supplemental declaration.




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       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.


 Dated: August 30, 2023                          Ducera Partners LLC

                                                 /s/ Cody Kaldenberg
                                                 Cody Kaldenberg
                                                 Partner
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                        Schedule 1

                Potential Parties in Interest
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                                      SCHEDULE 1
                                      List of Schedules

Schedule    Category
1(a)        5% or More Equity Holders
1(b)        Bankruptcy Judges, Staff, and U.S. Trustee Personnel for the United States
            Bankruptcy Court for the District of Delaware
1(c)        Banks, Lenders, and Administrative Agents
1(d)        Committee Members
1(e)        Committee Professionals
1(f)        Current Directors and Officers
1(g)        Customers
1(h)        Debtor Professionals
1(i)        Debtors
1(j)        Environmental Related Parties
1(k)        Insurance Providers and Agents
1(l)        Litigation and Subrogation Claims
1(m)        Material Contract Counterparties
1(n)        Non-Debtors
1(o)        Other Restructuring Professionals
1(p)        Significant Vendors
1(q)        Surety and Letters of Credit Issuers
1(r)        Taxing Authorities, Governmental Agencies, and Regulatory Agencies
1(s)        Top 30 Creditors
1(t)        UCC Lien Parties
1(u)        Union Funds
1(v)        Unions
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                                    SCHEDULE 1(a)
                                5% or More Equity Holders

International Brotherhood of Teamsters
MFN Partners Management LP
United States, Government of the, Department of the Treasury
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                                  SCHEDULE 1(b)
  Bankruptcy Judges, Staff, and U.S. Trustee Personnel for the United States Bankruptcy
                            Court for the District of Delaware

Attix, Lauren                                  Subda, Paula
Barksdale, Nickita                             Walker, Jill
Batts, Cacia                                   Walrath, Mary F.
Bello, Rachel                                  Wynn, Dion
Brady, Claire                                  Yeager, Demitra
Capp, Laurie
Casey, Linda
Cavello, Robert
Chan, Ashely M.
Cudia, Joseph
Dice, Holly
Dorsey, John T.
Dortch, Shakima L.
Farrell, Catherine
Fox, Timothy J., Jr.
Gadson, Danielle
Giordano, Diane
Goldblatt, Craig T.
Green, Christine
Hackman, Benjamin
Haney, Laura
Horan, Thomas M.
Hrycak, Amanda
Johnson, Lora
Jones, Nyanquoi
Leamy, Jane
Lopez, Marquietta
Lugano, Al
McCollum, Hannah M.
Mcmahon, Joseph
O'Malley, James R.
Owens, Karen B.
Ranieri, Joan
Richenderfer, Linda
Sarkessian, Juliet
Schepacarter, Richard
Serrano, Edith A.
Shannon, Brendan L.
Sierra-Fox, Rosa
Silverstein, Laurie Selber
Stickles, J. Kate
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                                    SCHEDULE 1(c)
                        Banks, Lenders, and Administrative Agents

ACE Global Multi-Credit LLC
Alter Domus Products Corp.
Amissima Diversified Income ICAV
AP Kent Credit Master Fund LP
Apollo Accord Master Fund III LLP
Apollo A-N Credit Fund (Delaware) LP
Apollo Atlas Master Fund LLC
Apollo Centre Street Partnership LP
Apollo Credit Funds ICAV
Apollo Credit Master Fund Ltd.
Apollo Credit Strategies Master Fund Ltd.
Apollo Lincoln Fixed Income Fund LP
Apollo Moultrie Credit Fund LP
Apollo Tactical Value SPN Investments LP
Apollo TR Enhances Levered Yield LLC
Apollo TR Opportunistic Ltd.
Aspen American Insurance Co.
Athora Lux Invest
Bancomer
Bank of America NA
Bank of Bermuda
Bank of Nova Scotia, The
BNY Mellon
Cadbury Mondelez Pension Trust Ltd.
CIT Finance LLC
Citadel Securities LP
Citizens Bank NA
Citizens Business Capital
Cortland Products Corp.
ING Capital LLC
JPMorgan Chase Bank NA
KeyBank NA
MPI (London) Ltd.
PNC Bank
PNC Bank NA
San Bernardino County Employees' Retirement Association
Siemens Financial Services Inc.
TD Bank
UMB Bank
United States, Government of the, Department of the Treasury
US Bank NA
Wells Fargo
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                                   SCHEDULE 1(d)
                                   Committee Members

BNSF Railway Co.
Central States, Southeast & Southwest Areas Pension Fund
Daimler Trucks NA
International Brotherhood of Teamsters
Michelin North America Inc.
New York State Teamsters Pension & Health Funds
Pension Benefit Guaranty Corp.
Raisner Roupinian LLP
Rft Logistics LLC
Rivera, Armando
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                                  SCHEDULE 1(e)
                                Committee Professionals

Akin Gump Strauss Hauer & Feld LLP
Benesch, Friedlander, Coplan & Aronoff LLP
Huron Consulting Group Inc.
Miller Buckfire & Co. LLC
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                              SCHEDULE 1(f)
                         Current Directors and Officers

Bergman, Jason W.
Carreno, Tony
Carty, Douglas A.
Dawson, Leah K.
Doheny, Matthew A.
Evans, Javier
Harris, Darrel J.
Hawkins, Darren D.
Hoffman, James E.
Jones, Shaunna D.
Martinez, Susana
McClimon, David S.
Nazemetz, Patricia M.
Olivier, Daniel L.
Rumfola, Annlea
Sultemeier, Chris T.
Webber, David H.
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                                     SCHEDULE 1(g)
                                             Customers

4Front Ventures Corp.                               Mars Petcare USA Inc.
Amazon.com Inc.                                     Medline Industries Inc.
ARC Supply Chain Solutions                          NFI Industries Inc.
ArcBest Enterprise Solutions Inc.                   Nissan North America Inc.
Ascent Global Logistics Inc.                        Office Depot
Association Solutions                               Ohio Logistics Ltd.
Barrette Outdoor Living Inc.                        OMNI Logistics
BlueGrace Logistics                                 PB Consultants Ltd.
Blue-Grace Logistics LLC                            Phillips Van-Heusen
CH Robinson Co. Inc.                                Ply Gem Industries Inc.
Daimler Trucks North America LLC                    Priority One Holding Co.
Dollar General Corp.                                ReTrans Freight Inc.
Dollar Tree Stores Inc.                             Rite Aid Corp.
DuPont                                              Rivian Automotive LLC
DuPont Specialty Products USA LLC                   Rogers & Brown North American Logistics
Eaton Corp. plc                                         Inc.
Echo Global Logistics Inc.                          Ryder Carrier Management Services
ETech Group                                         Samsung Electronics America Inc.
Exel Ltd.                                           Savings4Members
Expeditors Cargo Insurance Brokers                  Schneider Logistics Inc.
Falvey Shippers Insurance                           Signify Lighting
Fern Exposition Services                            Signify North America Corp.
First Brands Group LLC                              Simplified Logistics LLC
Ford                                                Spectrum Brands
Ford Motor Co.                                      Stanley Black & Decker (US) Inc.
Freeman Parent Cos.                                 Staples Inc.
Freightquote.com Inc.                               SupplyHouse.com
Gallagher Affinity Insurance Services Inc.          Tforce Worldwide Inc.
General Electric Co.                                TFWW
GlobalTranz Enterprises LLC                         TPS Logistics Inc.
HealthCore Inc.                                     Transportation Insight LLC
Hillenbrand Inc.                                    Turn 5
HNRY Logistics Inc.                                 Turn5 Inc.
Home Depot Inc., The                                Uber Freight US LLC
Honda Motor Europe Logistics                        Uline Inc.
Hub Group Inc.                                      Unishippers Global Logistics LLC
Hubbell Inc.                                        United States, Government of the
Hyundai America Shipping Agency Inc.                Unyson Logistics Inc.
Johnson Controls Inc.                               UPS Capital Insurance Agency Inc.
LO Trading Corp.                                    Vollrath Co., The
Logikor Inc.                                        Volvo Logistics North America Inc.
Logistics Plus Inc.                                 VWR International LLC
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Walmart Stores Inc.
WebstaurantStore Inc., The
Worldwide Express Operations LLC
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                                    SCHEDULE 1(h)
                                    Debtor Professionals

Alvarez & Marsal
Ducera Partners LLC
Epiq Global
Goodmans LLP
Pachulski Stang Ziehl & Jones LLP
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                                    SCHEDULE 1(i)
                                        Debtors

1105481 Ontario Inc.
Express Lane Service Inc.
New Penn Motor Express LLC
Reimer Holding BV
Roadway Express International Inc.
Roadway Next Day Corp.
USF Bestway Inc.
USF Dugan Inc.
USF Holland International Sales Corp.
USF Holland LLC
USF Reddaway Inc.
USF Redstar LLC
Yellow Freight Corp.
Yellow Logistics Inc.
YRC Association Solutions Inc.
YRC Enterprise Services Inc.
YRC Freight Canada Co.
YRC Inc.
YRC International Investments Inc.
YRC Logistics Inc.
YRC Logistics Services Inc.
YRC Mortgages LLC
YRC Regional Transportation Inc.
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                                     SCHEDULE 1(j)
                                Environmental Related Parties

Environmental Protection Agency
Roosevelt Irrigation District (AZ)
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                                   SCHEDULE 1(k)
                             Insurance Providers and Agents

ACE American Insurance Co.                     Helix Underwriting Partners Ltd.
ACE Property & Casualty Insurance Co.          Illinois Union Insurance Co.
AEGIS London                                   Lex-London
AFCO Credit Corp.                              Lloyd's of London
AIG Specialty Insurance Co.                    Lockton
Allianz Global Corporate & Specialty SE        Magna Carta - Aegis
Allianz Global Risk US Insurance Co.           Magna Carta Insurance Ltd.
Allianz US Risks US Insurance Co.              Markel
Allied World Assurance Co. Ltd.                Markel Bermuda
American International Group UK Ltd.           Mosaic Insurance
American International Reinsurance Co.         National Fire & Marine Insurance Co.
    Ltd.                                       National Union Fire Insurance Co. of
Applied Underwriters                                Pittsburgh, PA
Arcadian                                       North Rock Insurance Co.
Arch Reinsurance Ltd.                          Old Republic General Insurance Corp.
Aria (SAC) Ltd.                                Old Republic Insurance Co.
Aspen American Insurance Co.                   Old Republic Insurance Co. of Canada
AXA XL                                         Resilience Cyber Insurance
AXIS Bermuda Puni-Wrap                         Roanoke
AXIS Insurance Co.                             Roanoke Trade
AXIS Specialty Ltd.                            RSUI Indemnity
AXIS Surplus Insurance Co.                     RT Specialty
Beazley Insurance Co.                          SiriusPoint Bermuda Insurance Co. Ltd.
Berkshire Hathaway International Insurance     Sompo
    Ltd.                                       St. Paul Fire & Marine Insurance Co.
Berkshire International                        Tokio Marine HCC
BFL                                            Travelers
Canopius                                       Travelers of Canada
Chubb Bermuda Insurance                        U.S. Specialty Insurance Co.
Chubb Ltd.                                     Vantage Risk Ltd.
CNA                                            Westchester Surplus Insurance Co.
Columbia Casualty                              Willis Towers Watson
Continental Casualty                           XL Insurance Co. SE - Irish Branch
Crum & Forster
EmergIn Risk
Endurance American Insurance Co.
Endurance Specialty Insurance Ltd.
Everest Insurance
Federal Insurance Co.
GAI Insurance Co. Ltd.
Great American Assurance Co.
Greenwich Insurance Co.
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                                   SCHEDULE 1(l)
                            Litigation and Subrogation Claims

68th Street Dump Superfund Alternative         Dewell, Megan B.
   Site                                        Dominguez, Jennifer
Abili, Edward                                  DPS Auto Shippers
Agyilirah, Kwame                               Drew, Derrick E.
Alabama Automotive & Diesel Repair             Drive New Jersey Insurance Co.
Alco Iron & Metal Co.                          Eclipse IP LLC
Alexander, James C.                            Environmental Protection Agency
Almonte, Criseily A.                           Eskridge, Decarlo A.
APDI Liquidation LLC                           Federal Motor Carrier Safety Administration
Arce, Mario                                    Fernandez, Christian
Arias, Nicole                                  Fisher, Sherquenna
Auguste, Micheline                             Freeman, Sabrina
Baez, Dania                                    Fuselier, William
Bagwell, Kevin                                 G&J Carlson Truck & Trailer Repairs
Baker, Ringo                                   Galloway, Kevin M.
Bazarov, Jacob                                 Garcia, Erica
Bed Bath & Beyond                              Gassaway, John
Bhandari, Ameesh                               Gibby, Gary
Binette, Myriam                                Gilmore, Jimmie L.
Blackstrap Industries Inc.                     Giunto, Vincenzo
BM Group Inc.                                  Glover, D'Angelo
Boblitt, Robert E.                             Goodman, Sopia L.
Bojang, Muhamed                                GPNE Corp.
Bright Earth Foods                             Grissom, Bobby
Broussard, Devonte Thomas                      Haefner Farm
Brown, Melissa D.                              Hall, Derek
Bryant Holdings LLC                            Hallamore Corp.
Bufford, Russell                               Hamilton, Bonita
Buford, Virginia                               Hanford, Paige
Burrell, Brandy C.                             HBC Strategies
Byrd, Destinee R.                              Hernandez, Emely
Cancino, Edgar                                 Hernandez, Henry P.
Carrillo, Robert                               Hettick, Rachael L.
Charlot, Charlene                              Hill, Antonio
Cherry Man Industries                          Hill, Tina
Clarin, Shannon L.                             Hitz, Alexander
Clark, Paul                                    HKM Direct Market Communication
ComLink Network Services                       HNRYLogistics.com
Cooper, Steven                                 HNRYLogistics.net
Curry, James                                   Home Products International Inc.
Daugherty, Norman E.                           Hong, Han G.
Deleon, Yeferson                               Hong, Isaac
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Hong, Marybeth                                Napiwocki, Jill
House, Joshua W.                              Neathery, Anthony S.
Howard, James                                 Newton, Jesse
Hubert, Jimmie                                Nipponkoa Insurance
Hucks, Novella N.                             Nova Wildcat Shur-Line Holdings (H2
Hudson, Christine                                 Group)
Ibarra-Bastidas, Gabriela                     Nowicki, Lawrence
Indemnity Insurance Co. of North America      Ocean Amusements Inc.
Interboro Packaging Corp.                     Omachron Science Inc.
Jackson, Geraldine                            Oncor Electric Delivery Co.
Jackson, Leroy F.                             Openshaw, Anne-Celeste
Johnson, Glenn                                Party City
Johnson, Lillie P.                            Patel, Ankit K.
Jones, Delores                                Patterson, Nancy
Kelsie, Adam                                  Peguero, Yency
Kenco Logistic Services LLC                   Pemba, Vignola
Khaira, Jarnail S.                            Perez-Ortiz, Yuritsi
Kiel, Mindy Ann                               Perez-Valencia, Lexington
Kirn, Colenan B.                              Plott, JC
Kitzmiller, Christie                          PML Capital Inc.
Kluxen, Michael                               Ponce, Leonel
Kouloujian, Hagop                             Powell, Anthony
Lapolla, Blaise E.                            Proto, Erik
Leung, Marina                                 Purchase Master LLC, The
Lewis, Christina                              Pyramid Flooring / Seneca Hardwood
Littral, William A.                           Quality Ocean
Logistica Zemog                               R&L Carriers
Logitraq LLC                                  Reimer World Corp.
Loomis, Marshall                              Revlon Inc.
Lopez-Builes, Martha                          Richard, Joshua
Louis, Kirby                                  Riggins, Kimdell
Louro, Emily J.                               Riley, Cherry B.
Luce, John                                    Rivera-Romero, Leslie J.
Madden, Jaylin J.                             RoadNet Technologies
Malnik, Alvin L.                              RoadwayDelivery.com
Martin, Janae                                 Robinson, Summer Cheyenne
Martino, Anthony                              Robles, Samuel
Mata, Martin Nava                             Rocket Farms Inc.
Maxfield Candy Co.                            Rodriguez, Kenneth
Mcbean, Camila                                Rodriguez, Raudin
Mercado, Milagros V.                          Rogers, Liliah
Miller, Thomas                                Roman, Nadine
Misquez, Aaron S.                             Ropshaw, Cade J.
Mongelli, Paul L.                             Sanchez Garcia, Horacio
Moonilal-Singh, Kavir                         Sanders, John
Mughadam, David                               Santos, Martita S.
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Sawyer, Sheri L.                               Washington, State of, Employment Security
Sayegh, Ailyn                                     Department
Schimmoller, James D.                          Wasmiller, Lorinda
Selby, Robert                                  Waters-Ocasio, Laureen
Session, Qusarn F.                             Watkins, Eric
Simon, Alpar                                   Williams, Bernard
Sira-Monsalve, Yelimar                         Williams, John
Sirius Computer Solutions                      Winston, James D.
Slater, Willie Lee                             Winston, Joyce A.
Smith, Caesar                                  Winston, Sharee D.
Sneed, Hodges                                  Wyszynski, Paul
Sofolonia, Vea                                 Yanto, Charmane
Sosa, Juan                                     Yello Strom
Spence, Tena J.                                Yellow Crates Corp.
Sritharan, Sri                                 Yellow Transportation Inc.
Standard Roofing & Sheet Metal Supply          YRCCourier.com
Stewart Rentals                                YRCWorldwideDelivery.com
Tartabull, Carlos E.                           Zenobia Co. LLC
Temp-Coat Brand Products
Thorn, Jeff
Tinsley, Jesstina
TM Longevity Center, CA
Transmate Logistics
Trice, Whittni L.
TS Express
Tucows Inc.
Turakulov, Damir T.
United States, Government of the,
    Department of Defense
United States, Government of the,
    Department of Labor Occupational
    Safety & Health Administration
United States, Government of the,
    Department of Labor, Occupational
    Safety and Health Administration
United States, Government of the,
    Department of the Treasury
United States, Government of the,
    Environmental Protection Agency, 68th
    Street Site Work Group
US Freightways Inc.
Veasey, Zackary
Viera, Octavio F.
Vital Pharmaceuticals Inc.
Vizant Technologies LLC
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                                     SCHEDULE 1(m)
                            Material Contract Counterparties

1313 Grand Street Realty LLC                     Dock Street Corp.
1333 North Market LLC                            Don Jerry X-Plo Inc.
181 West Johnson Operating LLC                   Dunco LLC
445 Hollywood Avenue LLC                         Dwell Wise LP
9551930 Canada Inc.                              DWJS LLC
A. Duie Pyle Inc.                                East West Bank
ABF Freight System Inc.                          Edinburgh Logistics Assets LLC
Acheron Land Holdings ULC                        Eiler LLC
Ajia LLC                                         Elmira Terminal & Warehouse Corp.
Alamitos Auto Parts Inc.                         Estes Express Lines Inc.
Allied Logistics Corp.                           Estes Terminals LLC
AppleTree Realty Holdings LLC                    Exeter 1619 N Plaza LLC
Artim Industrial Properties                      Exol Properties LLC
Aurora Business Park Associates LP               Faloma Fazio Property LLC, The
Axos Bank                                        Fazio TV LLC
B&W Investments                                  Federal Bridge Corp. Ltd., The
B. Kik Properties LLC                            Fifty Second Avenue Associates Inc.
Baker Dennard & Goetz Inc.                       Finlayson Logistics Assets LLC
Barry Jenkins Trust                              Freeport Center Associates
Bel Air T.T. LLC                                 Freight Line Properties LLC
Big Sky Property Management                      G&I IX Cheshire LLC
Blach Distributing Co.                           GB Albany LLC
Blach Investment Group                           GB Union Gap LLC
Bluebird Real Estate Holdings LLC                GEFFS Manufacturing Inc.
BNSF Railway Co.                                 GIJV IL7 LLC
Boyer Logistics Inc.                             Glen EG LLC
BREIT Industrial Canyon                          Goodland, City of (KS)
C&S Brokerage                                    GPT Deer Park Terminal Owner LLC
Carlson, Lorraine                                GPT Orlando Terminal Owner LLC
Central Property Group LLC                       GPT Santa Fe Springs Owner LP
Chamberlain Trust                                Green Acres Gypsum & Lime Co. Inc.
Chamberlain, Jack                                Green Blue 1818 LLC
Champion Terminal Associates LLC                 Growth Funding Equipment Finance
Chicago Title Land Trust Co.                     GRP 298 Astor LLC
Christy Real Estate LLC                          Gulsons Cutter LLC
Commerce Road Terminals LLC                      Haener Properties LP
Crown Associates LLC                             Harris Real Estate Holdings LLC
Crown Enterprises Inc.                           Hartman Road LLC
CWW Enterprises LLC                              Hawkey Transportation Inc.
DCT Eckhoff Street LLC                           Haycock, Victoria C.
DCT Peoria Street LLC                            HealthSource Integrated Solutions
DCT Regentview Avenue LLC                        Heatherly, Jim
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Highland Investments LLP                     North Acres Development Co. Inc.
Hofstad, Jerald K.                           NW 5+B Office & Retail LLC
HVIP Industrial Park                         Oliver, Cynthia
Invermex LLC                                 Ontiveros, Maria
Isaacson, Paul                               OPS-KC Aspiria LLC
Ivey Self Storage Inc.                       Orange Batavia I LLC
J&C Gilman LLC                               Orchard Investments Inc.
Jay F. Mannino Trust                         P&R Property Management
JB Wright Insurance Services                 PAC Operating LP
Jeds LLC                                     PACCAR Financial Corp.
Jennings Leasing LLC                         Pacific Transshipment Centers LLC
JL Clark Inc.                                PacifiCorp
Jonesboro Freight Terminal LLC               Peapack Capital Corp.
JVCA Investments LLC                         Penske Truck Leasing Co. LP
Kestrel Crossdock LLC                        Peters Investments LLC
Lenzen, Pearl                                Pifer Property Holdings LP
LightEdge Technologies Ltd.                  Popular Investments LLC
M4 Terminals LLC                             Port of Seattle
Mad Acquisitions LLC                         PPF Sudberry Ocean View Hills LP
Madrona Cutter LLC                           Price Property & Investments LLC
Marley RMC II SPE LLC                        Prologis LP
Mary A. Fazio LP I                           Prologis Targeted US Logistics Fund LP
Matelich Crane Pier & Piling                 Prologis USLV NEWCA 3 CA
McCallum Family LLC                          Prologis USLV NEWCA 3 LLC
McPherson Cos., The                          Prologis USLV SUBREIT 4 LLC
Mercedes-Benz Financial Services USA         Property 1955 LLC
    LLC                                      PWM Inc.
MG Fishersville I LLC                        Pyro Junkie Fireworks Inc.
MJ Rock LLC                                  Radius Bank
Mobile Airport Authority                     Realterm Nat Property Holdings LP
Mohawk Street Properties LLC                 Regency West Office Partners LLC
Montana Opportunities LLC                    Reimer World Properties Corp.
Morse, Ann B.                                RGA Dalfen East Dallas LP
Morse, David M.                              Rich & Dave Grant Properties
Multi-Base Inc.                              Richardsons Properties LLC
NAPA Auto Parts                              RL Roberts LLC
Nations Equipment Finance                    RLF Booth SPE LLC
NATMI LPF Bloomington LP                     RLF I-A SPE LLC
NATMI National FX Properties LLC             RLF I-C SPE LLC
NATMI National Tampa LLC                     RLF I-Pico SPE LLC
NATMI National Truck Terminals LLC           RLIF East 2 LLC
Ned Properties LLC                           RLR Investments LLC
Nelson, Mitchell                             Roemer Way LLC
Nextran Truck Center                         RWP Manitoba Ltd.
Niagara Falls Bridge                         Ryder Truck Rental Inc.
Norstar Walker Inc.                          S&S Transport
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Salem Warehouse Syndicate LLC
Santa Maria Investments LLC
Schopp Properties LLC
Shaffer Road LLC
Sherman, County of (TX), County Clerk
Shurling Property
Silver Creek LLC
Snohomish County Airport
Soeth Corp.
Southeastern Freight Lines Inc.
Southern Warehousing & Distribution
Spalding & Son Inc.
Staker & Parson Cos. Inc.
Sterling National Bank
Stoughton Trailers Acceptance Co. LLC
Tatanka LLC
Terminal Logistics II Mid-Atlantic Spe LLC
Terminal Logistics II South SPE LLC
Terminal Logistics II Texas SPE LP
Terreno Clawiter LLC
Terreno Dell LLC
TFI International Inc.
Thunderbolt Management Group Inc.
TierPoint LLC
Timberline Distributors LLC/The Black
    Sheep LLC
Toon Investments LLC
Toyota
Trafton Warehouse LLC
Trip Portfolio LLC
Umpqua Dairy
Unite Private Networks
USHOLL (MI) LLC
Velocity Partners LLC
Vieweg Real Estate
Villa Vista West LLC
Volvo Financial Services
Warner-Williams Investments Inc.
Watwood Investments LLC
West Emerson Brokers Mall Ltd.
Wheels Up Experience Inc.
Wiggins, Lee A.
WIPT Inc.
Wolverine Freight System
Zollinger Commercial Warehousing
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                                    SCHEDULE 1(n)
                                         Non-Debtors

OPK Insurance Co. Ltd.
PT Meridian IQ Indonesia International
Roadway Express Inc.
Roadway Express SA de CV
Roadway LLC
Transcontinental Lease S. de RL de CV
USF Holland Inc.
Yellow Corp.
Yellow Transportation Inc.
YRC Freight
YRC Logistics Asia Ltd.
YRC Services S. de RL de CV
YRC Transportation SA de CV
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                                 SCHEDULE 1(o)
                          Other Restructuring Professionals

AlixPartners LLP
Arnold & Porter Kaye Scholer LLP
Choate, Hall & Stewart LLP
FTI
Hogan Lovells US LLP
Holland & Knight LLP
Houlihan Lokey Inc.
Milbank
Province Inc.
Quinn Emanuel Urquhart & Sullivan LLP
Ropes & Gray LLP
White & Case LLP
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                                  SCHEDULE 1(p)
                                  Significant Vendors

4Refuel Canada LP                             Diesel Direct West
7 Oil Co. Inc.                                Direct ChassisLink Inc.
A. Duie Pyle Inc.                             Diversified Energy Supply
AAA Semi Truck & Trailer Repairs LLC          Dun & Bradstreet Inc.
Altus Receivables Management Inc.             Ean Services LLC
AmeriGas Propane                              East Bay Drayage Drivers Security Fund
Aramark Inc.                                  Ernst & Young LLP
AT&T Inc.                                     Exl Service Holdings Inc.
Aurora Parts & Accessories LLC                Exl Service Ireland Ltd.
Avery Weigh-Tronix LLC                        ExperSolve
B2B Supply                                    Factor Systems Inc.
Baucom Service Inc.                           Fidelity Workplace Services LLC
Bayard Advertising Agency                     Fire Engineering Co. Inc.
Belk Express                                  First Advantage Background Services Corp.
Bestpass Inc.                                 Fleet Charge
Blue Cross & Blue Shield Illinois             FleetPride Corp.
Bobs Mobile Truck & Trailer Shop Ltd.         Fletes Mexico Carga Express
Bridgestone Americas Inc.                     GardaWorld Security Services
Brown & Joseph LLC                            Gardewine & Sons Ltd.
BS Transport LLC                              GBS Corp.
Canada, Government of, Receiver General       Geos Environmental Inc.
Canadian National Railway Co.                 Goetz Energy Corp.
Cass Information Systems Inc.                 Goodyear Tire & Rubber Co., The
CBK Construction Co.                          GPT Operating Partnership LP
CenturyLink                                   Grainger
Chevron Products Co.                          Green Blue 1818 LLC
Cintas Corp.                                  Guidepoint Security LLC
City Wide Franchise Co. Inc.                  Hagerstown Teamsters & Motor Carriers
Comdata Inc.                                  Hartford Life & Accident Ins Co.
Conrad & Bischoff Inc.                        Haulistic LLC
ConvergeOne Inc.                              Haz-Mat Response Inc.
Cook, County of (IL), Treasurer               Heritage Petroleum LLC
Corporate Lodging Consultants Inc.            Hightowers Petroleum Co.
Coyote Logistics                              HNRY Logistics Inc.
CrossCountry Courier Inc.                     Honeywell Scanning & Mobility
CSTK                                          Hyundai Translead
CVS Caremark                                  IBM Corp.
Daimler Truck Financial Services              IBT Local 710
Dekra Services Inc.                           IBT Local 710 Health & Welfare
Dell Marketing LP                             IBT Local 710 Pension Fund
Delta Dental of Kansas Inc.                   Imperial Supplies LLC
Diesel Direct Inc.                            Indiana, State of, Department of Revenue
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Infostretch Corp.                              Ogletree, Deakins, Nash, Smoak & Stewart
Insight Direct USA Inc.                            PC
Intercept Logistics Inc.                       Ohio, State of, Department of Taxation
Interstate Building Maintenance Corp.          Okta Inc.
ITF LLC                                        Old Republic Risk Management Inc.
ITS National LLC                               Old World Industries LLC
J.J. Advantage Security                        Optym
Jacobus Energy LLC                             Oracle America Inc.
James River Petroleum Inc.                     Oregon Teamster Employers Trust
JLT Mobile Computers Inc.                      Oregon, State of, Department of
Kasowitz Benson Torres LLP                         Transportation, Motor Carrier
Keyhole Software LLC                               Transportation Division
KPMG LLP                                       Orlando Pro Truck Repairs LLC
Lao-Hmong Security Agency Inc.                 OSCO Inc.
Leuf of Florida Inc.                           Overland West Freight Lines
Local 251 Health & Welfare Fund                Paccar Parts Fleet Services
Local 701 Mid-Jersey Trucking                  Packaging Corporation of America
Local 707                                      Pasha Hawaii Holdings LLC
Lytx Inc.                                      PCS Surface Delivery
Magnum LTL Inc.                                PetroCard Inc.
Mansfield Oil Co.                              Pilot Travel Centers LLC
Marsh USA Inc.                                 Pinnacle Fleet Solutions
Michelin North America Inc.                    Pontoon Solutions Inc.
Microsoft Corp.                                Prestige Fleet Services LLC
Mid-American Constructors LLC                  Progistics Distribution Inc.
Milestone Trailer Leasing LLC                  Prologis USLV NEWCA 3 LP
Mirabito Energy Products                       Proskauer Rose LLP
Miracle Express Inc.                           Publicis Sapient
Miri Piri Transportation Inc.                  R&D Mobile Services Inc.
M-O FreightWORKS                               R.L. Roberts LLC
Mode Transportation LLC                        Ray's Tire Service LLC
Morgan, Lewis & Bockius LLP                    Reed Transport LLC
Motus LLC                                      Rft Logistics LLC
MTM Recognition Corp.                          Ricoh USA Inc.
National Landscape Management                  Riley Oil Co.
New England Teamsters Pension Fund             Ringcentral Inc.
New York State Teamsters                       Road Carriers Local 707 Welfare Fund
New York State Teamsters Council               Road-1 Inc.
Nextran Truck Centers Midwest Inc.             Roofoptions LLC
Norfolk Southern Corp.                         Rush Truck Center
North American Transaction Services            Safety-Kleen Systems Inc.
North Park Transportation Co. Inc.             Salesforce.com Inc.
NTT Data Services LLC                          San Bernardino, County of (CA), Tax
NW Fleet Trucktrailer Repair Inc.                  Collector
Offen Petroleum LLC                            SC Fuels
                                               Schneider National Inc.
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Securitas Security Services USA Inc.         Western Pennsylvania Teamsters &
Security Solutions of America                    Employers Welfare Fund
Sedgwick Claims Management Services Inc.     Wiese USA
Signature Graphics Inc.                      Wilmington Trust Co.
Span Alaska Transportation Inc.              World Fuel Services Inc.
Speedy Transport Group Inc.                  Zello Inc.
Staples Business Advantage
STL Truckers LLC
Straight Freight System LLC
Suburban Teamsters Welfare Fund
Superior Material Handling Inc.
Tacoma Motorfreight Service
Taylor Communications
TBS Factoring Service LLC
Teamsters Health & Welfare Fund
Teamsters Local 25 Health & Welfare Plan
Teamsters Local 641
Teamsters Local 641 Health & Welfare
    Fund
Teamsters National 401K Savings Plan
Teamsters Pension Fund
Teamsters Union Local 25
Technology Group Solutions LLC
Ten Logistics Inc.
TIG Fleet Service
Total Quality Logistics LLC
Tote Maritime Puerto Rico LLC
Trans-National Express
Trucking Employees of North Jersey
Trucking Management Inc..
Truckpro
U.S. Xpress Enterprises Inc.
Uline Shipping Supply Specialists
Union National Bank
Union Pacific Railroad
United Parcel Servce Inc.
United States Postal Service
US Special Delivery
Vanguard National Trailer Corp.
Verizon Connect Telo Inc.
Verizon Wireless
Washington Teamsters Welfare Trust
Waste Harmonics LLC
Waste Management National Services Inc.
Webster Bank
West Power Services
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                                  SCHEDULE 1(q)
                           Surety and Letters of Credit Issuers

Arch Capital Group
Argo Group
Chubb Group
CNA Surety
Intact Group
Liberty Mutual Group
Protective Insurance Co.
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                                 SCHEDULE 1(r)
          Taxing Authorities, Governmental Agencies, and Regulatory Agencies

Canada Revenue Agency
Danville, City of (IL)
Joilet, City of (IL)
Los Angeles, County of (CA)
Massachusetts, Commonwealth of, Department of Revenue
New York, State of, Department of Taxation & Finance
Pennsylvania, Commonwealth of, Department of Revenue
San Joaquin, County of (CA), Assessor’s Office
St. Joseph, County of (IN)
Texas, State of, Comptroller
Washington, State of, Department of Revenue
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                                  SCHEDULE 1(s)
                                       Top 30 Creditors

Amazon.com Inc.
Bed Bath & Beyond
Belk Express
BNSF Railway Co.
Central Pennsylvania Teamsters
Central States H&W Fund
Central States Pension Funds
Coty Inc.
Daimler Trucks NA
Direct ChassisLink Inc.
Exl Service Holdings Inc.
Goodyear Tire & Rubber Co., The
Home Depot Inc., The
IAM National 401K Plan
IBT Local 710
Keurig Dr. Pepper Inc.
Local 707
Local 805 Pension & Retirement Plan
Michelin North America Inc.
Michigan Conference of Teamsters
Mid-American Constructors LLC
New York State Teamsters Council
North American Transaction Services
Pension Benefit Guaranty Corp.
Penske Truck Leasing
Pilot Travel Centers LLC
Rft Logistics LLC
Teamsters National 401K Savings Plan
Union Pacific Railroad
Western Teamsters Welfare Fund
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                                    SCHEDULE 1(t)
                                     UCC Lien Parties

Altabank
Alter Domus Products Corp.
Bank of New York Mellon
BofI Federal Bank
Citizens Asset Finance Inc.
Citizens Bank NA
Citizens Business Capital
Cortland Products Corp.
Credit Suisse AG
EverBank Commercial Finance Inc.
First Utah Bank
Growth Funding Equipment Finance
Harbor Capital Leasing Inc.
Harbor Capital Leasing LLC
HYG Financial Services Inc.
Investors Bank
JPMorgan Chase Bank NA
Les Schwab Warehouse Center Inc.
Milestone Equipment Corp.
Nations Fund I Inc.
Nations Fund I LLC
NewStar Commercial Lease Funding I LLC
NewStar Equipment Finance I LLC
NMHG Financial Services Inc.
People's Capital & Leasing Corp.
People's United Bank NA
PMC Financial Services Group LLC
Radius Bank
RBS Citizens Business Capital
Somerset Capital Group Ltd.
Somerset Capital Group XXII
Stoughton Trailers Acceptance Co. LLC
Susquehanna Commercial Finance Inc.
Toyota Industries Commercial Finance Inc.
United States, Government of the, Department of the Treasury, Internal Revenue Service
Utica LeaseCo LLC
Wintrust Equipment Finance
YRC Inc.
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                                    SCHEDULE 1(u)
                                        Union Funds

Albany Trucking & Allied Industries - Local     Hagerstown Teamsters Health & Pension
    294                                             Fund (Local 992)
Allied Services Division - BRAC 1908 MIA        Hawaii Teamsters Health & Welfare Trust
Allied Services Division Welfare Fund           Hawaii Truckers - Teamsters Union Pension
Automobile Mechanics' Local 701 Union &             Fund
    Industry Pension Fund (Chicago              IAM Local 447 Health & Welfare Fund -
    Mechanics)                                      Buffalo
Automobile Mechanics' Local 701 Union &         IAM Local 447 Pension Fund - Buffalo
    Industry Welfare Fund (Chicago              IAM National Pension Fund
    Mechanics)                                  IAM National Pension Fund - Local 778
Central Pennsylvania Teamsters Health &         IAM National Pension Fund (St. Paul)
    Welfare Fund                                IBT Office of the Trustee Local 710
Central Pennsylvania Teamsters Pension              (Chicago Mechanics) - Health+Welfare
    Fund                                            & Pension Fund
Central States Health & Welfare Fund            IBT Teamsters Health & Welfare Fund
Central States Pension Fund                         Local 705
Central States Pension Fund - Local 778         Indiana Conference of Teamsters Safety
Central Status Health & Welfare Fund                Training & Educational Trust Fund
Central Status Health & Welfare Fund -          Local 294 Albany Area Trucking
    Local 778                                   Local 445 Pension Fund
Central Status Pension Fund                     Local 705 International Brotherhood of
Central Status Pension Fund - Local 778             Teamsters Health & Welfare Fund
Chauffeurs Teamsters & Helpers Local            Los Angeles Machinists Benefit Trust
    Union 301 Health & Welfare Fund                 (Local 1186 Southern California
District #77 IAMAW Welfare Association -            Mechanics)
    Local 737 (St. Paul)                        Machinists' Money Purchase Pension Fund
District #9 IAMAW Pension Trust - Local         Management Labor Welfare & Pension
    777 (St. Louis)                                 Funds - Local 1730 ILA
District #9 IAMAW Welfare Trust - Local         Mechanics Motor City Lodge No. 698
    777 (St. Louis)                             Mechanics Motor City Lodge No. 698, IAM
East Bay Drayage Drivers Security Fund              Welfare Fund
    (Local 70)                                  Michigan Conference of Teamsters Welfare
Employers-Teamsters Local #175 & 505                Fund
    Pension Fund                                Mid-Jersey Trucking Industry Local 701
Employer-Teamsters Local #175 & 505                 Welfare & Pension Fund
    Health & Welfare Fund                       Minnesota Teamsters - Minneapolis Office
Employer-Teamsters Local 175 & 505              Minnesota Teamsters Health & Welfare
    Health & Welfare Fund (JC 84)                   Plan
Employer-Teamsters Local 175 & 505              National IAM Pension Fund (SoCal 1186)
    Pension Fund (JC 84)                        New England Teamsters & Trucking
Freight Drivers & Helpers Local No. 557             Industry Pension Trust
    Pension Plan                                New England Teamsters Pension Trust
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New York State Teamsters (Local 445)           Teamsters Local 287 (Teamster Benefit
New York State Teamsters Conference               Trust)
   Pension & Retirement Fund                   Teamsters Local 294
New York State Teamsters Council Health        Teamsters Local 493 Health Service &
   & Hospital Fund                                Insurance Plan
New York State Welfare Fund (Local 355 -       Teamsters Local 560 Benefit Funds (North
   BLT)                                           Jersey)
Northern New England Benefit Trust             Teamsters Local 617
OPEIU (TPA Corp. 401K) Santa Rosa &            Teamsters Local 639 Employers Health
   Bay Area                                       Trust
Oregon Teamsters National 401K Savings         Teamsters Local 639 Employers Pension
   Plan                                           Trust
Oregon Western Teamsters Welfare Fund          Teamsters Local 641 Pension Fund
Road Carriers Local 707 Health & Welfare       Teamsters Local 641 Welfare Fund
   Fund                                        Teamsters Local 671 Health Services &
Road Carriers Local 707 Pension Fund              Insurance Plan
Santa Rosa 665 (Teamster Benefit Trust)        Teamsters Local 677 Health Services &
Southwestern Pennsylvania & Western               Insurance Plan
   Maryland Area Teamsters & Employers         Teamsters Local Union No. 653 Health
   Pension Fund                                   Welfare & Insurance Fund
Suburban Teamsters of Northern Illinois        Teamsters Pension Trust Fund of
   Welfare & Pension Fund (Local 134)             Philadelphia & Vicinity - Teamsters
Suburban Teamsters of Northern Illinois           Health & Welfare Fund
   Welfare & Pension Fund (Local 179)          Teamsters Pension Trust Fund of
Suburban Teamsters of Northern Illinois           Philadelphia & Vicinity - Teamsters
   Welfare & Pension Fund (Local 330)             Pension Fund
Suburban Teamsters Of Northern Illinois        Teamsters Union 25 Health Services &
   Welfare & Pension Fund (Local 673)             Insurance Plan
TCU Pension Fund - BRAC 1908 MIA               Transportation Local 443 Health Service &
Teamsters 261 & Employers Welfare Fund            Insurance Plan
Teamsters 401(K) Jo/Milwaukee                  Truck Drivers Local 170 Health & Welfare
Teamsters 401(K) Joliet                           Fund
Teamsters Health Services & Insurance Plan     Union Local 705 Pt Pension Fund
   of Local 404                                Washington Teamsters National 401K
Teamsters Joint Council #83 of Virginia           Savings Plan
Teamsters Joint Council No 83 of Virginia      Western Conference of Teamsters National
   Health & Welfare Fund                          401K Savings Plan
Teamsters Joint Council No. 83 of Virginia     Western Conference of Teamsters
   Health & Welfare Fund                          Supplemental Benefit Trust Fund
Teamsters Joint Council No. 83 Of Virginia     Western Pennsylvania Teamsters &
   Pension Fund                                   Employers Pension Fund
Teamsters Local 251 Health Services &          Western Pennsylvania Teamsters &
   Insurance Plan                                 Employers Welfare Fund
Teamsters Local 2785 (Teamster Benefit         Western States Office & Professional
   Trust)                                         Employees Pension Fund
                                               Western Teamsters Welfare Fund
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Western Teamsters Welfare Trust                 Wisconsin Health Fund
Western Teamsters Welfare Trust -
  Washington
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                                    SCHEDULE 1(v)
                                         Unions

International Brotherhood of Teamsters
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                                            Schedule 2

                           Potential Connections or Related Parties

(1)   The California Department of Tax and Fee Administration, State of Texas, and the Texas
      Comptroller are identified as Taxing Authorities / Governmental Agencies / Regulatory
      Agencies of the Debtors. The California Public Utilities Commission (a/k/a the CPUC)
      and the Railroad Commission of Texas (a/k/a RCT), are current clients of Ducera in
      connection with unrelated utility securitizations.

(2)   A.M. Castle, LSC Communications, and Eastman Kodak Company are identified as having
      Cargo-Related Claims against the Debtors (“Select Cargo Claimants”). The Select Cargo
      Claimants are existing or historical clients or parties in interest in an unrelated restructuring
      or merger and acquisition situations.

(3)   Frontier is identified as having Subrogation Claims against the Debtors and as a Vendor of
      the Debtors. Frontier Communications Corporation is a party in interest in an unrelated
      historical restructuring situation.

(4)   Wells Fargo (“Wells Fargo”) is identified as a Banks/Lender/Administrative Agent of the
      Debtors. Wells Fargo is a client or current party in interest in an unrelated historical
      bankruptcy restructuring situation.

(5)   Windstream Corporation (“Windstream”) is identified as a vendor of the Debtors.
      Windstream is a party in interest in an unrelated historical restructuring situation.




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